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                                                                     '' Y 2. .rr                   Ka> T (



       United S at s Distri
       District Court ct
                                                                                                                                        FILED
                                                                                                                                U. S. DISTRICT COURT
                                                                                                                             EASTERN DIST ICT OF TEXAS
Name (under which you were                                Docket or
convicted) : U Ga. «                                      Case No.: Q, : \ % - ( iz -                                  <b» •- c j

                                                          Prisoner
Place of {rtc
Confinement:
                           -o iwa          jSP- (
                                                          No. :
                                                                             l ~l M              \ c-H                                  MAY - 3 2019
       UNITED STATES OF                            Movant (include
       AMERICA                                    name under which
                                                        convicted)                                                         BY
                                      v                                                                                    DEPUTY.
                                                 Nj A              . o. <.              <Oi


        MOTION1. (a) Name and location of court that entered the judgment of conviction you are
                                              challenging: 3af rc c3> 3Pgc&.er*( B ltetiw*? k ks S co <- -
                                                     oo  <-V\ O     s
                                                         -.. c i A yf m                       ?        \
                    (b) Criminal docket or case number (if you know): Cm- (, S ~ og. - i. --5t <£i
              2. (a) Date of the judgment of conviction (if you know): i - Z sy ei
                                     (b) Date of sentencing: t - z. \                              t
                                    3. Length of sentence:
                              4. Nature of crime (all counts): C ZZ rdiW
                                                        Fc \o                      -:n         -v
                                                          F" A- A        r C ArC




                                5. (a) What was your plea? (Check one)
            (1) Not guilty ( GuillyH (3) Nolo contendere (no contest)
   (b) If you entered a guilty plea to onecouhfor indictment, and a not guilty plea to another count or
indictment, what did you plead guilty to and what did you plead not guilty to?




          6. If you went to trial, what kind of trial did you have? (Check one) Jury Judge only
                  7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes Nfo
                          8. Did you appeal from the judgment of conviction? Yes (Glop
                                          9. If you did appeal, answer the following:
                                 (a) Name of court:
                          (b) Docket or case number (|f you know):
                                   (c) Result:
                             (d) Date of result (if you know):
                           (e) Citation to the case (if you know):
                                 (f) Grounds rai ed:




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               (g) Did you file a petition for certiorari in the United States Supreme Court? Yes (jsk
                                                     If Yes, answer the following:
                         (1) Docket or case number (if you know):
                                               (2) Result:

                               (3) Date of result (if you know):
                            (4) Citation to the case (if you know):
                                      (5) Grounds raised:




 10. Other than the direct appeals listed above, have you previously filed any other motions, petitions,
                  or applications concerning this judgment of conviction in any court?
                                                                    Yes (No)
                   11. If your answer to Question 10 was es, give the following information:
                               (a)(1) Name of court:
                         (2) Docket or case number (if you know):
                                 (3) Date of filing (if you know):
                                  (4) Nature of the proceeding:
                                     (5) Grounds raised:




      (6) Did you receive a hearing where evidence wasgjven on your motion, petition, or application?
                                                                    Yes fo )
                                               (7) Result:
                             (8) Date of result (if you know):
              (b) If you filed any second motion, petition, or application, give the same information:
                                   (1) Name of court:
                       (2) Docket or case number (if you know):
                                (3) Date of filing (if you know):
                                 (4) Nature of the proceeding:
                                    (5) Grounds raised:




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       (6) Did you receive a hearing where evidence wasgiven on your motion, petition, or application?
                                                    Yes (No
                                               (7) Result:
                         (8) Date of result (if you know):
   (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion,
                                           petition, or application?


 (1) First Y No
petition: e
                       s
 (2) Second Y No
petition: e
                       s

     (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you
                                                                                                         did not:



   12. For this motion, state every ground on which you claim that you are being held in violation of the
    Constitution, laws, or treaties of the United States. Attach additional pages if you have more than four
                                                            grounds. State the facts supporting each ground.

                                                                                     GROUND ONE: \ r-J o r-Fg. <cA i

         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.)
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                                  r-                                    A.



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                                                          .0_.CC                          t    Kt        d-Ng                 N          s
           -          Q£                                Ca.                                   s.--




                                                                                  (b) Direct Appeal of Ground One
                                        (1) If you appe led from the judgment of conviction, did you raise this issue?
                                                                                                                                        Yes(No'
              (2) If you did not raise this issue in your direct appeal, explain why: _______________



                                                                                                 (c) Post-Conviction Proceedings:
                                 (1) Did you raise this Issue in any post-conviction motion, petition, or application?
                                                                                                                                        Yes jc )
                                                                            (2) If your answer to Question (c)(1) is Yes, state:

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                                                                       Type of motion or petition:
           Name and location of the court where the motion or petition was filed:

                                                        Docket or case number (if you know):
                                                                     Date of the court s decision:
                 Result (attach a copy of the court s opinion or order, if available):


                                                 (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                Yes No
                                            (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                         Yes No
                               (5) If your answer to Question (c)(4) is Yes, did you raise this issue in the appeal?
                                                                                                                                         Yes No
                                                                             (6) If your answer to Question (c)(4) is Yes, state:
                          Name and location of the court where the appeal was filed:

                                                        Docket or case number (if you know):
                                                                 Date of the court’s decision:
                 Result (attach a copy of the court’s opinion or order, if available):


     (7) If your answer to Question (c)(4) or Question (c)(5) is No, explain why you did not appeal or raise
                                                                                              this issue:




                                                                                     GROUND TWO: t

        (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
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                      /      .irr              A           (g~                             -r                              C           K               ¦

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                               r7          -.       e           c             j.(v             V         -               ==             :




                                                                     (b) Direct Appeal of Ground Two:
                            (1) If you appe led from the judgment of conviction, did you raise this issue?
                                                                                                   Yes No
              (2) If you did not raise this issue ip your direct appeal, explain why:


                                                                                 (c) Post-Conviction Proceedings:
                                 (1) Did you raise thi : issue in any post-conviction motion, petition, or application?


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                                                                                                                                          Yes No
                                                                          (2) If your answer to Question (c)(1) is Yes, state:
                                                                         Type of motion or petition:
           Name and location of the court w ere the motion or petition was filed:

                                                         Docket or case number (if you know):
                                                                        Date of the court s decision:
                 Result (attach a copy of the court s opinion or order, if available):


                                                    (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                   Yes No
                                            (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                        Yes No
                               (5) If your answer to Question (c)(4) is Yes, did you raise this issue in the appeal?
                                                                                                                                        Yes No
                                                                              (6) If your answer to Question (c)(4) is Yes, state:
                          Name and location of the court where the appeal was filed:

                                                         Docket or case number (if you know):
                                                                        Date of the court’s decision:
                 Result (attach a copy of the court’s opinion or order, if available):


     (7) If your answer to Question (c)(4) or Question (c)(5) is No, explain why you did not appeal or raise
                                                                                              this                  issue:




                                                                                  GROUND THREE:                     t       <£ 'c r p ~

                                                                                                                    T>vS <- -V C P
         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
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                                                                               (b) Direct Appeal of Ground Three:
                                        (1) If you appealed from the judgment of conviction, did you raise this issue?
                                                                                                                                        Yes No
              (2) If you did not raise this issue in your direct appeal, explain why:



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                                                                                                 (c) Post-Conviction Proceedings:
                                  (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                               Yes No
                                                                   (2) If your answer to Question (c)(1) is Yes, state:
                                                              Type of motion or petition:
           Name and location of the court where the motion or petition was filed:

                                                        Docket or case number (if you know):
                                                                 Date of the court s decision:
                 Result (attach a copy of the court s opinion or order, if available):


                                                 (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                Yes No
                                            (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                                                        Yes No
                               (5) If your answer to Question (c)(4) is Yes, did you raise this issue in the appeal?
                                                                                                                                        Yes No
                                                                            (6) If your answer to Question (c)(4) is Yes, state:
                         Name and location of the court where the appeal was filed:

                                             Docket or case number (if you know):
                                                       Date of the court’s decision:
                 Result (attach a copy of the court’s opinion or order, if available):


     (7) If your answer to Question (c)(4) or Question (c)(5) is No, explain why you did not appeal or raise
                                                                                              this                issue:




                                                                                   GROUND FOUR: t                         1     c     1

        (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
                                                           cl

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                                                                                 (b) Direct Appeal of Ground Four:
                                        (1) If you appe led from the judgment of conviction, did you raise this issue?


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                                                                                                                                        Yes No
              (2) If you did not raise this issue in your direct appeal, explain why:


                                                                                (c) Post-Conviction Proceedings:
                                 (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                                                                                              Yes No
                                                                        (2) If your answer to Question (c)(1) is Yes, state:
                                                                       Type of motion or petition:
           Name and location of the court where the motion or petition was filed:

                                             Docket or case number (if you know):
                                                       Date of the court's decision:
                 Result (attach a copy of the court's opinion or order, if available):


                                                  (3) Did you receive a hearing on your motion, petition, or application?
                                                                                                                 Yes No
                                         (4) Did you appeal from the denial of your motion, petition, or application?
                                                                                                             Yes No
                               (5) If your answer to Question (c)(4) is Yes, did you raise this issue in the appeal?
                                                                                                                                        Yes No
                                                 (6) If your answer to Question (c)(4) is Yes, state:
                         Name and location of the court where the appeal was filed:

                                                       Docket or case number (if you know):
                                                                Date of the court s decision:
                 Result (attach a copy of the court s opinion or order, if available):


     (7) If your answer to Question (c)(4) or Question (c)(5) is No, explain why you did not appeal or raise
                                                                      this issue:



                                    13. Is there any ground in this motion that you have not previously
presented in some federal court? If so, which ground or grounds have not been presented, and state your
                                             reasons for not presenting them:




   14. Do you have any motion, petition, qr appeal now pendin (filed and not decided yet) in any court
                                                                                 for the judgment you are challenging? Yes No1
      If “Yes, state the name and location of the court, the docket or case number, the type of proceeding,
                                                           and the issues raised.


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         15. Give the name and address, if known, of each attorney who represented you in the following
                                                                                      stages of the judgment you are challenging:
                                                                        (a) At preliminary hearing: e -vv . U»

                                                                     (b) At arraignment and plea: t c,                                      e -

                                                                                              (c) At trial;

                                                                                    (d) At sentencing:

                                                                                        (e) On appeal                         i .

                                                        (f) In any post-conviction proceeding: i ( ,v

    (g) On appeal from any ruling against you in a post-conviction proceeding:


 16.      Were you sentenced on more than one count of an indictment, or on more than one indictment, io
                                                                                  the same court and at the same time? Yes (jo
   17       Do you have any future sentence to serve after you complete the sentence for the judgment thgt
                                                                                                          you are challenging? Yes (No )
       (a) If so, give name and location of court that imposed the other sentence you will serve in the future:


                            (b) Give the date the other sentence was imposed:
                                      (c) Give the length of the other sentence:
           (d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the
                                                 judgment or sentence to be served in the future? Yes t<f3
    18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, y
  must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your
                                                                                                                                       motion. *




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                   Therefore, movant asks that the Court grant the following relief:


                                                                            or any other relief to which movant may be entitled.




                                                                                                          Signature of Attorney (if any)
      I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and
                              that this Motion Under 28 U.S.C. § 2255 was placed in the prison mailing system on
                                                                       H - T   IT (month, date, year).
                                                                        Executed (signed) on M - y~- f (date).




                                                                                                                      Sign turey f Movant
    If the person signing is not movant, state relationship to movant and explain why movant is not signing
                                                                    this motion.




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